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                                           No. 23-3392
                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

            ILIA KOLOMINSKY; BRYAN ANDERSON,
                         Plaintiffs,
                          – and –
PLUMBERS LOCAL 290 PENSION TRUST FUND, INDIVIDUALLY AND ON
        BEHALF OF ALL OTHERS SIMILARLY SITUATED,
                         Plaintiff-Appellant
                                  vs.
    ROOT, INC.; ALEXANDER TIMM; DANIEL ROSENTHAL; MEGAN
BINKLEY; CHRISTOPHER OLSEN; DOUG ULMAN; ELLIOT GEIDT; JERRI
  DEVARD; LARRY HILSHEIMER; LUIS VON AHN; NANCY KRAMER;
  NICK SHALEK; SCOTT MAW; BARCLAYS CAPITAL INC.; GOLDMAN
   SACHS & COMPANY, LLC; MORGAN STANLEY & COMPANY, LLC;
                  WELLS FARGO SECURITIES, LLC,
                       Defendants-Appellees.

                           Appeal from the United States District Court
                                for the Southern District of Ohio
                                No. 2:21-cv-01197-MHW-CMV
                              The Honorable Michael H. Watson

                         PLAINTIFF-APPELLANT’S OPENING BRIEF

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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-3392                              Case Name: Ilia Kolominsky, et al. v. Root, Inc., et al.
 Name of counsel: Steven F. Hubachek

 Pursuant to 6th Cir. R. 26.1, Plumbers Local #290 Pension Trust Fund
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  No.




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No.




                                             CERTIFICATE OF SERVICE

                                  July 12, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Steven F. Hubachek




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




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I.       ORAL ARGUMENT STATEMENT

         This is an appeal from a complicated, fact-intensive securities-fraud class

action presenting complex legal issues. As such, Lead Plaintiff-Appellant Plumbers

Local 290 Pension Trust Fund (“Plaintiff”) believes the Court would benefit from

hearing from both sides at oral argument. See 6 Cir. R. 28(b)(1)(B), 34(a).

II.      JURISDICTION

         This case arises under the Securities Act of 1933 (“Securities Act”), 15 U.S.C.

§77a et seq., asserting claims under Securities Act §§11, 12(a)(2), and 15, 15 U.S.C.

§§77k, 77l(a)(2), 77o. The district court had jurisdiction under Securities Act

§22(a), 15 U.S.C. §77v, and under 28 U.S.C. §1331.

         On March 31, 2023, the district court entered its Opinion and Order (“Order”)

dismissing the Amended Complaint for Violations of the Federal Securities Laws

(“Complaint”) and entered judgment that same day. 1

         Plaintiff filed a timely notice of appeal on April 28, 2023.2

         This Court has jurisdiction under 28 U.S.C. §1291.




1
      Order(RE64)PAGEID#1305-1353; Judgment(RE65)PAGEID#1354
2
      Notice of Appeal(RE66)PAGEID#1355-1356

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III.     ISSUES PRESENTED

         A.         Whether the district court erred in applying the heightened fraud-

pleading standards of Fed. R. Civ. P. 9(b) to the only claims at issue in this appeal—

Plaintiff’s claims under §§11, 12(a)(2), and 15—all of which allege strict liability

and negligence, not fraud.

         B.         Whether Defendants’ statement in the Registration Statement that Root

had “designed a mobile-directed customer acquisition strategy, delivering customer

acquisition costs below the average cost of doing so” was false and misleading

because Defendants’ strategy was not delivering below-average costs when they

spoke and Defendants did not disclose that fact in the Registration Statement.

         C.         Whether Defendants’ statement in the Registration Statement that

“[t]he efficiency of [Root’s] customer acquisition strategy has resulted in a cost of

acquisition advantage versus direct and agent channels” was false and misleading

because Defendants’ strategy was not delivering below-average customer-

acquisition costs when they spoke and Defendants did not disclose that fact in the

Registration Statement.

         D.         Whether Defendants’ purported warning in the Registration Statement

that “[a]s we grow, we may struggle to maintain cost-effective marketing strategies,

and our customer acquisition costs could rise substantially” was false and misleading

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because when they spoke Root was not maintaining cost-effective marketing

strategies and its cost of customer-acquisition had already risen substantially such

that Root’s cost of acquisition was no better than the average insurer’s and

Defendants did not disclose these facts in the Registration Statement.

         E.         Whether it was error to dismiss the §15 claim for lack of a primary

violation given that it was error to dismiss the §§11 and 12(a)(2) claims.

IV.      STATEMENT OF THE CASE

         A.         Statement of Facts

                    1.    Introduction

         This appeal is from the dismissal of securities class-action claims alleging

strict liability and negligence under §§11, 12(a)(2), and 15 of the Securities Act, 3

and concerns Defendants’ materially false and misleading statements and omissions

made in connection with Root’s Initial Public Offering (“IPO”) regarding one of

Root’s most-critical financial metrics, customer-acquisition cost (“CAC”), 4 in

Root’s Registration Statement. 5



3
   These claims do not allege fraud.              Complaint(RE31)PAGEID#758, 760,
763(¶¶154, 165, 178)
4
    Complaint(RE31)PAGEID#725(¶6)
5
   “Defendants” refers collectively to Root, Inc. (“Root”); Root’s CEO Alexander
Timm, Root’s CFO Daniel Rosenthal, Megan Binkley, Christopher Olsen, Doug
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         Root is a start-up automotive-insurance company that seeks to differentiate

itself from traditional insurers by focusing on reaching customers through a mobile

app. 6 The IPO was a key part of Root’s strategy to raise money to support Root’s

expansion from being a regional insurer to having nationwide availability. 7 To

complete this strategy, Defendants marketed Root’s purportedly low CAC, thus

conveying to investors that Root was able to acquire new customers more profitably

than traditional insurers.8 In short, because Root’s average CAC was $332 for the

two years preceding the IPO—well below the range of $500 to $800 CAC figures of

traditional insurers—Defendants repeatedly told investors in its offering documents

that Root had a CAC “advantage.”9




Ulman, Elliot Geidt, Jerri DeVard, Larry Hilsheimer, Luis von Ahn, Nancy Kramer,
Nick Shalek, Scott Maw (the “Individual Defendants”); and Goldman Sachs & Co.
LLC, Morgan Stanley & Co. LLC, Barclays Capital Inc., and Wells Fargo Securities,
LLC (the “Underwriter Defendants”). “Registration Statement” refers to the
prospectus and Form S-1 registration statement, as amended, issued in connection
with Root’s initial public offering on or about October 28, 2020.
Complaint(RE31)PAGEID#724(¶2)
6
    Complaint(RE31)PAGEID#725(¶4)
7
    Complaint(RE31)PAGEID#725-726, 740(¶¶5, 9, 89)
8
    Complaint(RE31)PAGEID#726, 734, 737-739, 744-745(¶¶8, 48, 73-81, 106)
9
    Complaint(RE31)PAGEID#744-745(¶106)

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         But as of Root’s IPO on or about October 28, 2020, it didn’t. 10 Rather, Root’s

actual CAC as of the IPO was effectively no different than the costs incurred by

typical insurers and would spike even higher thereafter, yet Defendants did not

disclose those crucial facts in the Registration Statement. 11             Nonetheless,

Defendants—having priced Root Class A common stock at $27.00 per share—

conducted the IPO, reaping over $600 million in net proceeds for Root and achieving

a valuation of approximately $6.7 billion. Almost immediately after the IPO, the

market learned that Root’s CAC as of the date of the IPO itself had already risen to

a level at or above those of traditional automobile insurers, and similarly devastating

disclosures were made in connection with Root’s earnings reports in December

2020, February 2021, and August 2021.12 On March 19, 2021, when the initial

complaint in this action was filed, Root Class A common stock closed at $12.00 per




10
   Complaint(RE31)PAGEID#740-741(¶¶90-93) The Class Period began October
28, 2020 and continued through August 12, 2021, inclusive.
Complaint(RE31)PAGEID#724(¶1)
11
   Complaint(RE31)PAGEID#725-726, 739, 741-742, 752-755(¶¶7, 80, 94-95,
131-135)
12
     Complaint(RE31)PAGEID#727-728(¶¶15-16)

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share, an approximate 55.5% decline from the IPO price. 13 Root Class A common

stock subsequently closed under $4.50 per share on November 18, 2021.14

                    2.   The IPO

         The IPO was conducted on or about October 28, 2020 to: (i) raise capital for

Root from public investors (like Plaintiff); and (ii) provide liquidity for the Root

securities owned by Root’s pre-IPO venture capitalists, SVB Financial Group

(“SVB”) and DRD Contact, LLC (“DRD,” and with SVB, the “Selling

Stockholders”).15 The SEC declared Root’s Registration Statement effective on

October 27, 2020. 16

         Of the 26,830,845 shares of Root Class A common stock sold in the IPO, Root

offered 24,249,330 shares at $27.00 per share, generating approximately $618.7

million in net proceeds. 17 The Selling Stockholders offered the remaining 2,581,515

shares at $27.00 per share, generating approximately $65.8 million in net proceeds.18


13
     Complaint(RE31)PAGEID#728(¶17)
14
     Complaint(RE31)PAGEID#728(¶17)
15
     Complaint(RE31)PAGEID#724, 733-734(¶¶1-2, 41, 51)
16
     Complaint(RE31)PAGEID#735(¶57)
17
     Complaint(RE31)PAGEID#735-737(¶¶58-59, 64, 72)
18
     Complaint(RE31)PAGEID#735-737(¶¶58-59, 64, 72)

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         In the weeks leading up to the IPO, both the IPO’s offering price (a range

between $22.00 and $25.00 per share as of October 20, 2020) and size (24,164,515

shares as of October 20, 2020) substantially increased. 19 Post-IPO, the Underwriter

Defendants declined to exercise their option to purchase 4,024,626 additional shares

of Root Class A common stock at the IPO price. 20

                    3.   Root’s business model.

         Root is a technology company claiming to be revolutionizing automobile

insurance through a pricing model based upon data, referred to as telematics,

harvested from an app downloaded by customers onto their mobile phones.21 That

data can then be analyzed to identify the riskiest 10% to 15% of drivers.22 Root’s

business model is to offer its automotive-insurance products to drivers outside of the

10-15% risk zone, thus enabling it to offer—through its mobile app—a lower price

compared to traditional insurance companies while also reducing insurance claims. 23




19
     Complaint(RE31)PAGEID#735(¶¶55-59)
20
     Complaint(RE31)PAGEID#736-737(¶¶66-68)
21
     Complaint(RE31)PAGEID#733-734(¶¶45-47)
22
     Complaint(RE31)PAGEID#733(¶46)
23
     Complaint(RE31)PAGEID#733(¶46)

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         Root explained that most traditional insurance companies employ pooled-risk

underwriting and rely upon insurance agents as their primary form of distribution,

requiring payment of expensive commissions that reduce the profitability of

automotive insurance. 24 Root believes its near-exclusive reliance on mobile phones

and telematics comprises a competitive advantage, which the Registration Statement

claims has not been meaningfully adopted by traditional insurance companies.25

         As of the IPO, Root was licensed to sell insurance in 36 states, was then selling

insurance in 30 states, and planned to expand nationwide by early 2021.26

                    4.   Root’s crucial CAC metric.

         CAC reflects the average cost of acquiring a new customer, calculated by

dividing the sales and marketing expense for a given period by the new customers

acquired during that time. 27 CAC is a critical financial metric for new companies

because it indicates how well they can improve profitability as they grow. 28




24
     Complaint(RE31)PAGEID#733-734(¶¶45, 48)
25
     Complaint(RE31)PAGEID#734(¶48)
26
     Complaint(RE31)PAGEID#734(¶¶49-50)
27
     Complaint(RE31)PAGEID#737-738(¶¶73-74)
28
     Complaint(RE31)PAGEID#738(¶75)

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         Root recognizes the metric’s significance, identifying it as one of Root’s four

“principal profitability levers.”29     The Registration Statement emphasizes the

importance of CAC to Root’s profits, pointing out that Root’s average CAC of $332

during the period of August 2018 to August 2020 was well below the typical CAC

of traditional-insurance companies, which is typically $500-$800 due to intense

competition. 30 For automobile insurers that, like Root, focus on direct-to-consumer

marketing—i.e., GEICO and Progressive—the average CAC is approximately

$700. 31

         Throughout October 2020, investors and analysts were keenly focused on

Root’s CAC. 32 Indeed, multiple analyst reports emphasized Root’s low average

CAC of $332 and the advantage over competitors conferred by that figure.33




29
     Complaint(RE31)PAGEID#738(¶76)
30
     Complaint(RE31)PAGEID#738-739(¶¶77-80)
31
     Complaint(RE31)PAGEID#739(¶80)
32
     Complaint(RE31)PAGEID#739(¶¶81-85)
33
     Complaint(RE31)PAGEID#739(¶¶82-85)

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                    5.   Defendants’ misleading statements and omissions in
                         the Registration Statement conveyed to the
                         reasonable investor that, as of the time of the IPO,
                         Root enjoyed a competitive advantage due to its low
                         CAC.

         Defendants emphasized the competitive advantage conferred by Root’s low

average CAC throughout the Registration Statement. For instance, the Registration

Statement explained that “mobile device[s]” were “an underutilized distribution

channel” that Root was well-positioned to exploit because it was “[e]ngaging [its]

customers and prospective customers directly through the mobile device.”34 Root

proclaimed it had succeeded in profitably exploiting that channel despite the

“historical[] … difficulty” experienced by others seeking to do the same: “Through

our hyper-targeted, data-driven and ever-improving performance marketing

capabilities, we have been able to acquire customers for below the average cost of

doing so through each of the direct and agent-based channels.” 35

         The Registration Statement continued to emphasize Root’s ability to exploit

the mobile-device channel, observing that it “is the fastest growing retail channel in

the United States” and explaining that “[w]e therefore designed a mobile-directed



34
     Complaint(RE31)PAGEID#744-745(¶106)
35
     Complaint(RE31)PAGEID#744-745(¶106)

                                           - 10 -
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customer acquisition strategy, delivering customer acquisition costs below the

average cost of doing so through each of the direct and agent channels.”36 The

Registration Statement advised investors that it had previously “designed a mobile-

directed customer acquisition strategy,” and that that strategy was “delivering

customer acquisition costs below the average cost of doing so.” 37

         The Registration Statement further explained that Root’s mobile-device-

based strategy had achieved the desired result—“[t]he efficiency of our customer

acquisition strategy has resulted in a cost of acquisition advantage versus direct and

agent channels.” 38 It illustrated that success by pointing out that “[w]hile our

customer acquisition costs can vary by channel mix, by state or due to seasonality,

over the period from August 2018 to August 2020 our average customer acquisition

cost was $332.”39

         Defendants accompanied information regarding Root’s successful effort to

achieve a competitive advantage via its low CAC with assurances of expanded




36
     Complaint(RE31)PAGEID#744-745(¶106)
37
     Complaint(RE31)PAGEID#744-745(¶106)
38
     Complaint(RE31)PAGEID#744-745(¶106)
39
     Complaint(RE31)PAGEID#744-745(¶106)

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marketing efforts. Accordingly, Defendants promised that “[i]n the near term, as we

expand our licensed footprint to 50 states, we will invest in our national brand, which

will increase awareness, build credibility and support all four of our distribution

channels,” and that “we intend to increase our presence in digital and traditional

channel media and launch a national advertising campaign to build our brand

awareness.” 40

         In connection with Root’s growth plans, the Registration Statement included

a purported warning: “As we grow, we may struggle to maintain cost-effective

marketing strategies, and our customer acquisition costs could rise substantially.”41

Thus, Defendants warned of potential—not extant—negative outcomes.

                    6.   Timm’s roadshow statements.

         In a roadshow-sales presentation 42 preceding the IPO, Timm proclaimed that

“[o]ur customer acquisition cost has maintained well below the direct average and


40
     Complaint(RE31)PAGEID#744-746(¶¶106, 108)
41
     Complaint(RE31)PAGEID#746(¶110)
42
    The term “roadshow” refers to a sales presentation held across a series of
meetings between the executives of an issuing company and potential investors.
Complaint(RE31)PAGEID#741(¶92 n.2) The roadshow enables the underwriters of
an IPO and the top executives of an issuer to make a sales pitch to potential investors
in the offering. (Id.) Timm and Rosenthal participated in Root’s IPO roadshow and
made statements to prospective investors. (Id.)

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so we really are more competitive.”43 Even so, he acknowledged a “recent [CAC]

spike” far in excess of the amount incurred by the average traditional insurer. 44 He

attributed the dramatically increased CAC to “experimentation on brand,” stating

that “we’re constantly testing new marketing channels and we’ll continue to do that

short term.” 45 Timm also provided assurances that despite Root’s “experimentation

on brand” and short-term “testing [of] new marketing channels,” “we believe—and

we’ve seen long term—that we do have the ability to keep our customer acquisition

costs much lower than our competitors.”46

                    7.   Developments following the IPO reveal that
                         Defendants’ statements and omissions were
                         misleading.

         Although Root’s loss of its competitive advantage in its CAC was: (i) not

revealed in the Registration Statement; and (ii) misleadingly described in the

roadshow, Root’s increased marketing expenditures to support Root’s planned




43
     Complaint(RE31)PAGEID#750(¶124)
44
     Complaint(RE31)PAGEID#740-741, 750-751(¶¶91-92, 124, 127)
45
     Complaint(RE31)PAGEID#750-751(¶¶124, 127)
46
     Complaint(RE31)PAGEID#750-751(¶¶124, 127)

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national expansion to all fifty states—which began before the IPO—was the real

cause of the material elevation of Root’s CAC as of the IPO. 47

         Investors began to learn the truth when, in late November 2020, analysts

initiated coverage of Root and painted a troubling picture of Root’s present and

expected future CAC, a picture that bore no resemblance to that described in the

Registration Statement and at the roadshow. 48 On November 23, 2020, a UBS

analyst reported that Root’s “heavy customer acquisition costs will result in elevated

cash burn and net losses through 2023 requiring additional capital raises (debt and/or

equity) to maintain regulatory capital requirements.” 49

         The analyst further observed that Root’s CAC had risen above $500 during

the third fiscal quarter of 2020—which ended September 30, 2020—and was

occurring prior to the IPO. 50 A Barclays Capital Inc. analyst report—also dated

November 23, 2020—similarly reported that Root’s CAC reached $514 during the




47
     Complaint(RE31)PAGEID#741(¶93)
48
     Complaint(RE31)PAGEID#741-742, 752-754(¶¶94, 131-133)
49
     Complaint(RE31)PAGEID#752-753(¶131)
50
     Complaint(RE31)PAGEID#752-753(¶131)

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third fiscal quarter of 2020, again before the IPO.51 Thus, as of the IPO, far from

enjoying a competitive advantage, Root’s CAC was already within the CAC range

that was typical for the industry—although that was not publicly known—with

further CAC increases virtually certain to occur given Root’s commitment to “invest

in [its] national brand” due to its efforts to “expand [its] licensed footprint to 50

states.”52

         Both the UBS and the Barclays analysts also projected dramatic future

increases in Root’s CAC. 53 The former warned that Root’s CAC was expected to

be nearly $700 by the first fiscal quarter of 2021, the period ending March 31,

2021. 54 The latter warned that one of the “risks to monitor” is that “CAC is spiking

to $660+ near term on the new national TV campaign,” and that “CAC is spiking up

right now, weighing on profits.”55 The Barclays analyst forecasted Root’s CAC to




51
     Complaint(RE31)PAGEID#741-742, 753-754(¶¶94, 133)
52
     Complaint(RE31)PAGEID#739, 744-745(¶¶80, 106)
53
     Complaint(RE31)PAGEID#741-742, 752-754(¶¶94-95, 131-133)
54
     Complaint(RE31)PAGEID#752-753(¶131)
55
     Complaint(RE31)PAGEID#741-742, 753(¶¶94, 132)

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reach a level of “nearly $700 by 1Q21,” as a result of Root’s national-advertising

campaign, an estimate that “could prove conservative.”56

         Then, on December 1, 2020, in Root’s first financial report as a publicly-

traded company, Rosenthal confirmed that Root’s CAC had materially increased

during the third fiscal quarter of 2020—i.e., before the IPO—and would remain

elevated, stating that “amplified brand spend ... will result in elevated customer

acquisition cost levels for the next two quarters.”57 Indeed, Rosenthal acknowledged

that the elevated CAC was “in line with our [undisclosed] expectations during the

quarter,” thus confirming that when the IPO commenced, Defendants already

expected—but did not disclose—significant CAC inflation.58

         In Root’s second financial report as a publicly-traded company, on February

25, 2021, Timm admitted that Root “still ha[s] much work to do in the quarters and

years ahead, particularly around ... managing customer acquisition costs.” 59 A BofA




56
     Complaint(RE31)PAGEID#753-754(¶133)
57
     Complaint(RE31)PAGEID#742, 754-755(¶¶96, 134-136)
58
     Complaint(RE31)PAGEID#754-755(¶135)
59
     Complaint(RE31)PAGEID#742, 755(¶¶97, 137)

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Securities analyst lamented Root’s inflated CAC, concluding “the Root model falls

short.” 60

         After the market closed on August 11, 2021, Root announced a sale of a 5%

ownership interest to Carvana Co. in exchange for Carvana’s agreement to offer

Root’s insurance products to individuals who purchase vehicles through Carvana.61

Thus, less than a year after the IPO, Carvana purchased approximately 14 million

shares of Root Class A common stock for $9.00 per share, one-third of the $27.00

IPO price. 62

         Root’s August 12 shareholder letter cited the Carvana deal as “driving

scalable customer acquisition at attractive costs,” but at the same time also conceded

that Root was forced to substantially reduce its top-line and profitability guidance

for 2021 due to the necessity “to take active steps to reduce our customer acquisition

costs.” 63




60
     Complaint(RE31)PAGEID#755-756(¶¶138-139)
61
     Complaint(RE31)PAGEID#742-743, 756(¶¶98-100, 140-142)
62
     Complaint(RE31)PAGEID#742, 756(¶¶99, 140)
63
     Complaint(RE31)PAGEID#756(¶¶141-142)

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         As of the filing of this action on March 19, 2021, Root’s Class A common

stock traded at $12.00 per share, an approximate 55.5% decline from the IPO price

of $27.00 per share. 64 It has continued to fall, reaching $4.43 on November 18,

2021. 65

         B.         Course of Proceedings

         This action commenced on March 19, 2021. 66 The operative Complaint was

filed on November 19, 2021.67 Defendants moved to dismiss on May 20, 2022.68

On March 31, 2023, the district court filed its Order dismissing the Complaint with

prejudice and entered judgment that same day. 69

         C.         The Ruling Presented for Review

         The Order first concluded that the Complaint’s claims alleging violations of

§§11 and 12(a)(2) were subject to the heightened fraud-pleading standards of Fed.



64
     Complaint(RE31)PAGEID#756(¶144)
65
     Complaint(RE31)PAGEID#756(¶145)
66
     Initial Complaint(RE1)PAGEID#1-34
67
  Complaint(RE31)PAGEID#723-789; Designation of Complaint(RE54)PAGE
ID#876-883
68
     Motion to Dismiss(RE57)PAGEID#891-1185
69
     Order(RE64)PAGEID#1305-1353; Judgment(RE65)PAGEID#1354

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R. Civ. P. 9(b) even though those claims are based on strict liability and negligence,

not fraud.70 Nonetheless, the district court pointed to the Complaint’s allegations

that “the Registration Statement contained ‘materially false and misleading

statements and omissions,’” and “‘untrue’” statements.71

         The district court analyzed the §§11 and 12(a)(2) claims together as they were

based upon the same false and misleading statements and omissions, with the

exception of Timm’s roadshow comments which were alleged as only §12(a)(2)

violations. 72 The court found that none of the statements alleged in the Complaint

were false or misleading. 73

         As relevant here, the court found that the Registration Statement’s statement

that “‘[w]e therefore designed a mobile-directed customer acquisition strategy,

delivering customer acquisition costs below the average cost of doing so through




70
     Order(RE64)PAGEID#1314-1316
71
   Order(RE64)PAGEID#1315-1316. The district court also referred to allegations
of a “‘fraudulent scheme’” (Order(RE64)PAGEID#1316), but that allegation was
made in Securities Exchange Act of 1934 (“Exchange Act”) claims
(Complaint(RE31)PAGEID#764-773(¶¶185-222)) not raised in this appeal, which
concerns only Plaintiff’s non-fraud Securities Act claims.
72
     Order(RE64)PAGEID#1316
73
     Order(RE64)PAGEID#1316-1340

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each of the direct and agent channels,’” related only to “Root’s past performance”

and “unambiguously provides that Root ‘designed’ a mobile-centric customer

generating strategy that was ‘delivering’ CAC superior to the average CAC

associated with ‘direct and agent channels.’” 74 The court did not explain how it

could be true that Root’s strategy “was ‘delivering’ [superior] CAC” at the time of

the IPO when Root’s CAC was already no better than the typical range for the

industry.

         The court also concluded that Root’s statement that “[t]he efficiency of our

customer acquisition strategy has resulted in a cost of acquisition advantage versus

direct and agent channels” was not false or misleading as there was no duty to update

what was supposedly “accurate information” even though at the time of the IPO Root

enjoyed no such advantage.75         The court also concluded that the challenged

statement was somehow “expressly limited to a 24-month period” because the

following sentence noted that “‘[w]hile our customer acquisition costs can vary by




74
     Order(RE64)PAGEID#1324 (emphasis in original)
75
     Order(RE64)PAGEID#1324-1325

                                         - 20 -
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channel mix, by state or due to seasonality, over the period from August 2018 to

August 2020 our average customer acquisition cost was $332.’” 76

         The court also rejected the Complaint’s allegation that Root’s purported risk

warning that “‘[a]s we grow, we may struggle to maintain cost-effective marketing

strategies, and our customer acquisition costs could rise substantially’” was

misleading.77 While Plaintiff contended the statement was misleading because the

risk had already materialized when Defendants spoke, the court held it “is a forward-

looking statement concerning Root’s future CAC,” and “a prediction about Root’s

future.”78 The court also relied on Zeid v. Kimberley, 930 F. Supp. 431, 437 (N.D.

Cal. 1996), a 27-year-old district-court case that is contrary to Ninth Circuit law, see

infra at 69, and rejected numerous other authorities because they are “out-of-circuit

cases,” even though the same is true of Zeid. 79

         The court supplemented its analysis by offering additional points specific to

Plaintiff’s omissions theories. It reasoned that there was no need to disclose Root’s




76
     Order(RE64)PAGEID#1324-1325
77
     Order(RE64)PAGEID#1328 (emphasis in original)
78
     Order(RE64)PAGEID#1329
79
     Order(RE64)PAGEID#1329-1330

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elevated CAC because it truthfully set forth its performance between August 2018

and August 2020 and that the elevation was immaterial. 80 It also observed that Timm

revealed the CAC increase in his roadshow comments but it did not explain why that

was relevant to the Registration-Statement-based claims, and it doubled-down on its

reliance on Root’s purported risk warning. 81 It also speculated that Root had perhaps

maintained its “a competitive advantage vis-à-vis other channels in the insurance

industry.” 82 Finally, the court reasoned that “Plaintiff fails to allege any facts that

Root’s short-term increase in CAC meant that it could not, in the long term, maintain

competitively low CAC.” 83

         The court dismissed the §15 control-person claim because it found there was

no primary violation. 84

V.       SUMMARY OF ARGUMENT

         The district court erred in dismissing the Complaint’s claims under §§11,

12(a)(2), and 15.


80
     Order(RE64)PAGEID#1337
81
     Order(RE64)PAGEID#1337-1338
82
     Order(RE64)PAGEID#1338
83
     Order(RE64)PAGEID#1338 (emphasis omitted)
84
     Order(RE64)PAGEID#1352-1353

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         First, the court erred in holding that Plaintiff’s claims under §§11, 12(a)(2),

and 15 were subject to the heightened fraud-pleading standard of Fed. R. Civ. P.

9(b), because those claims are expressly based on strict liability and negligence. 85

“Securities Act claims do not sound in fraud if ordinary negligence is expressly pled

in connection with those claims.” In re Suprema Specialties, Inc. Sec. Litig., 438

F.3d 256, 272 (3d Cir. 2006).86

         The district court’s contrary analysis is mistaken. That court held that the

Securities Act claims “sound[] in fraud”—thus making Rule 9(b) applicable—

primarily because the Complaint included allegations that the Defendants’

statements were “‘misleading,’” “‘inaccurate,’” and “‘untrue,’” and that the

Registration Statement contained “‘materially false and misleading statements and

omissions.’” 87 But those allegations are nothing more than the generic allegations

required in every case alleging violations of §§11 and 12(a)(2). See 15 U.S.C.

§77k(a); 15 U.S.C. §77l(a)(2). Because “[f]raud is not an element or a requisite to

a claim under Section 11 or Section 12(a)(2),” Rombach v. Chang, 355 F.3d 164,


85
     Complaint(RE31)PAGEID#744, 747, 759, 762(¶¶105, 112, 158, 171)
86
   Internal citations and footnotes are omitted and emphasis is added throughout
unless otherwise indicated.
87
     Order(RE64)PAGEID#1315-1316

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171 (2d Cir. 2004), an analysis that mandates a finding that every such claim sounds

in fraud cannot be right.

         The district court also relied upon the Complaint’s allegations that

“Defendants operated a ‘fraudulent scheme.’” 88          The referenced allegations,

however, relate only to Plaintiff’s former Exchange Act claims—they are not

included in the §§11, 12(a)(2), and 15 claims at issue in this appeal, none of which

allege fraud. Moreover, when claims expressly allege negligence, as here, “the fraud

allegations [in a different claim] cannot be said to ‘contaminate’ the Section 11 and

Section 12(a)(2) claims if the allegations are pled separately,” Suprema Specialties,

438 F.3d at 272-73, also as they were here.

         Second, Defendants’ statement in the Registration Statement that Root

“designed a mobile-directed customer acquisition strategy, delivering customer

acquisition costs below the average cost of doing so through each of the direct and

agent channels,”89 was false and misleading because Defendants’ strategy was not

delivering below-average costs when they spoke and Defendants did not disclose




88
     Order(RE64)PAGEID#1316
89
     Complaint(RE31)PAGEID#744-745(¶106)

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that fact in the Registration Statement. 90 The district court’s contrary analysis misses

the point—it focused on the past-tense use of the term “‘designed’” while ignoring

the present-tense “‘delivering.’” 91 Because the strategy was not then delivering, the

statement was false or at least omitted the material fact that the strategy was not

presently delivering.

         The district court also briefly listed several theories—applicable to all three

statements challenged in this appeal—rejecting Plaintiff’s omissions arguments.92

All are erroneous.

         The court held Defendants truthfully disclosed their successful past CAC

performance from August 2018 to August 2020, but Plaintiff challenges Defendants’

statements about Root’s then-present performance. And it is not a close question

that Defendants’ statements were material—a “‘“reasonable investor,”’” see City of

Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651, 669 (6th Cir. 2005),

would certainly find a dramatic increase in the crucial CAC metric to be significant,

particularly in light of Root’s plans for an expensive national-advertising campaign.



90
     Complaint(RE31)PAGEID#726, 739, 744-745, 752-755(¶¶8, 80, 106, 131-135)
91
     Order(RE64)PAGEID#1324 (emphasis omitted)
92
     Order(RE64)PAGEID#1336-1339

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         Additionally, the district court’s reliance on Defendants’ supposed risk

warning is misplaced—as will be demonstrated below, the warning was itself

misleading because the risk had already materialized. See infra at 65-69. The court

also speculated that perhaps Root’s CAC may have somehow benefited as to other

“channels” as of the IPO, but such musings are contrary to the court’s duty to draw

inferences in Plaintiff’s favor. See Helwig v. Vencor, Inc., 251 F.3d 540, 553 (6th

Cir. 2001) (en banc), overruled in part on other grounds by Tellabs, Inc. v. Makor

Issues & Rts., Ltd., 551 U.S. 308 (2007). Finally, the court conjectured that perhaps

Root’s CAC may be favorable in the future, but that is both speculation in

Defendants’ favor—contrary to Helwig—and, regardless, no excuse for misleading

investors in the present: “‘“the fundamental purpose of the [Securities] Act [is]

implementing a philosophy of full disclosure.”’” Bridgestone, 399 F.3d at 668.

         Third, Defendants’ statement that “[t]he efficiency of [Root’s] customer

acquisition strategy has resulted in a cost of acquisition advantage versus direct and

agent channels” 93 was false and misleading because Defendants’ strategy was not

delivering below-average customer-acquisition costs when they spoke and

Defendants did not disclose that fact in the Registration Statement. By employing



93
     Complaint(RE31)PAGEID#744-745(¶106)

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“the present-tense [verb] ‘has,’” see United States v. Barton, 100 F.3d 43, 45 (6th

Cir. 1996), Defendants falsely led investors to believe that Root’s customer-

acquisition strategy was then presently providing “a cost of acquisition advantage

versus direct and agent channels.”94 Alternatively, by combining present-tense

claims of a then-present competitive advantage in CAC with a reference to Root’s

successful two-year run from August 2018 to August 2020, without also disclosing

that Root’s CAC no longer comprised a competitive advantage, Defendants “omitted

to state a material fact … necessary to make the statements [in the Registration

Statement] not misleading.” 15 U.S.C. §77k(a). The district court construed

Plaintiff’s argument as positing a duty to update,95 but that doctrine does not apply

as the statement was false when made. See Helwig, 251 F.3d at 561 n.6.

         Fourth, Defendants’ purported warning that “[a]s we grow, we may struggle

to maintain cost-effective marketing strategies, and our customer acquisition costs

could rise substantially” 96 was false and misleading because when they spoke Root

was not maintaining cost-effective marketing strategies and its CAC had already



94
     Complaint(RE31)PAGEID#744-745(¶106)
95
     Order(RE64)PAGEID#1325
96
     Complaint(RE31)PAGEID#746(¶110)

                                         - 27 -
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risen so substantially that Root’s CAC was no better than the average insurer’s, facts

that Defendants did not disclose in the Registration Statement. “‘To warn that the

untoward may occur when the event is contingent is prudent; to caution that it is only

possible for the unfavorable events to happen when they have already occurred is

deceit.’” Rubinstein v. Collins, 20 F.3d 160, 171 (5th Cir. 1994). The district court’s

primary response is to rely on Zeid’s holding that is it “absurd” to suggest an investor

could be misled by an inaccurate warning, see 930 F. Supp. at 437,97 but post-Zeid

Ninth Circuit authority has repeatedly rejected that view. See, e.g., In re Alphabet,

Inc. Sec. Litig., 1 F.4th 687, 703-04 (9th Cir. 2021), cert. denied sub nom. Alphabet

Inc. v. Rhode Island, 142 S. Ct. 1227 (2022).

         Fifth, because it was error to dismiss the §§11 and 12(a)(2) claims, it was also

error to dismiss the §15 claim for lack of a primary violation. See J&R Mktg. v.

GMC, 549 F.3d 384, 398 (6th Cir. 2008).

VI.      ARGUMENT

         A.         Standard of Review

         This Court “undertake[s] a de novo review of the proceedings consistent with

the proper [Fed. R. Civ. P.] 12(b)(6) posture of the case.” Helwig, 251 F.3d at 553.



97
     Order(RE64)PAGEID#1329

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This Court “‘construe[s] the complaint in a light most favorable to the plaintiff, and

accept[s] all of [the] factual allegations as true. When an allegation is capable of

more than one inference, it must be construed in the plaintiff’s favor.’” Id. (third

alteration in original).

         B.         The Complaint Adequately Alleges False and Misleading
                    Statements and Omissions under §§11 and 12(a)(2)

                    1.   The applicable statutes.

         Section 11 provides for liability if a registration statement, as of its effective

date, contains: “(1) a misrepresentation; (2) an omission in contravention of an

affirmative legal disclosure obligation; [or] (3) an omission of information that is

necessary to prevent existing disclosures from being misleading,” In re Morgan

Stanley Info. Fund Sec. Litig., 592 F.3d 347, 360 (2d Cir. 2010), that is material. See

Benzon v. Morgan Stanley Distribs., 420 F.3d 598, 608-09 (6th Cir. 2005). Section

11 “creates a private action for damages when a registration statement includes

untrue statements of material facts or fails to state material facts necessary to make

the statements therein not misleading,” such that “the issuer of the securities is held

absolutely liable,” without regard to fault. Ernst & Ernst v. Hochfelder, 425 U.S.

185, 207-08 (1976). Similarly, §12(a)(2) “provid[es] for liability for making a

securities offering ‘by means of a prospectus or oral communication, which includes

an untrue statement of a material fact or omits to state a material fact necessary in
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order to make the statements ... not misleading.’” Morse v. McWhorter, 290 F.3d

795, 798 (6th Cir. 2002). Section 15 “grounds liability of control persons on the

corporation being found liable under Section 11 or 12.” J&R, 549 F.3d at 398.

         Section 11 “places a relatively minimal burden on a plaintiff.” Herman &

MacLean v. Huddleston, 459 U.S. 375, 382 (1983). “If a plaintiff purchased a

security issued pursuant to a registration statement, he need only show a material

misstatement or omission to establish his prima facie case.” Id. “The section was

designed to assure compliance with the disclosure provisions of the Act by imposing

a stringent standard of liability on the parties who play a direct role in a registered

offering.” Id. at 381-82. “Liability against the issuer of a security is virtually

absolute, even for innocent misstatements.”        Id. at 382.     “Other defendants,”

including the issuer’s directors, underwriters, and persons who sign the registration

statement, “bear the burden of demonstrating due diligence.” Id. “Fraud is not an

element or a requisite to a claim under Section 11 or Section 12(a)(2)….” Rombach,

355 F.3d at 171.

         “[W]hether a statement is ‘misleading’ depends on the perspective of a

reasonable investor.” Omnicare, Inc. v. Laborers Dist. Council Constr. Indus.

Pension Fund, 575 U.S. 175, 186 (2015). Indeed, this Court has long recognized

that the appropriate analysis requires a determination of whether “[a] reasonable

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juror” would “conclude that the statement … was a misrepresentation.”                See

Bridgestone, 399 F.3d at 672.

         A statement is misleading if it “‘affirmatively create[s] an impression of a

state of affairs that differs in a material way from the one that actually exists.’” Ind.

Elec. Workers’ Pension Tr. Fund IBEW v. Shaw Grp., Inc., 537 F.3d 527, 541-42

(5th Cir. 2008); accord Alphabet, 1 F.4th at 700. “The context of statements is often

telling.” See Bridgestone, 399 F.3d at 672. Thus, “‘the proper inquiry requires an

examination of defendants’ representations, taken together and in context.’” Meyer

v. JinkoSolar Holdings Co., Ltd., 761 F.3d 245, 250 (2d Cir. 2014). The same is true

as to materiality. See J&R, 549 F.3d at 395.

         “[E]ven absent a duty to speak, a party who discloses material facts in

connection with securities transactions ‘assume[s] a duty to speak fully and

truthfully on those subjects.’” Helwig, 251 F.3d at 561 (second alteration in

original); accord Bridgestone, 399 F.3d at 670 (“Our securities laws ... ‘require an

actor to “provide complete and non-misleading information with respect to the

subjects on which he undertakes to speak.”’”). A “‘“prospectus will violate federal

securities laws if it does not disclose material objective factual matters, or buries

those matters beneath information, or treats them cavalierly.”’” In re ProShares Tr.

Sec. Litig., 728 F.3d 96, 103 (2d Cir. 2013).

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         “Congress adopted §11 to ensure that issuers ‘tell[] the whole truth’ to

investors. For that reason, literal accuracy is not enough: An issuer must as well

desist from misleading investors by saying one thing and holding back another.”

Omnicare, 575 U.S. at 192. Accordingly, the “‘veracity of a statement or omission

is measured not by its literal truth, but by its ability to accurately inform rather than

mislead prospective buyers.’” Kleinman v. Elan Corp., plc, 706 F.3d 145, 153 (2d

Cir. 2013). Statements that are literally true may become misleading based upon

“‘their context and manner of presentation.’” Id. “‘Even a statement which is

literally true, if susceptible to quite another interpretation by the reasonable

investor[,] may properly be considered a material misrepresentation.’”                Id.

(alteration in original).

         In short, Securities Act “[p]laintiffs need not allege scienter, reliance, or

causation. The standard is the same for claims pursuant to §12(a)(2), which covers

prospectuses and oral communications.” City of Pontiac Policemen’s & Firemen’s

Ret. Sys. v. UBS AG, 752 F.3d 173, 182-83 (2d Cir. 2014). And the “liability of

control persons” under §15 turns “on the corporation being found liable under

Section 11 or 12.” J&R, 549 F.3d at 398.




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         The three statements addressed below support liability under both §§11 and

12(a)(2), and it was error to dismiss those claims. Because it was error to dismiss

those claims, it was also error to dismiss the §15 claim.

                    2.   The district court erred in applying Rule 9(b) to the
                         Complaint’s strict-liability and negligence claims
                         under §§11, 12(a)(2), and 15.

         Because “fraud is not an element of” the alleged violations of §§11, 12(a)(2),

and 15 under the Securities Act, see Streambend Props. II, LLC v. Ivy Tower

Minneapolis, LLC, 781 F.3d 1003, 1011-12 (8th Cir. 2015), such allegations need

only satisfy the pleading standard in Fed. R. Civ. P. 8(a). Under that standard, a

complaint merely requires “a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); see also In re FirstEnergy Corp.

Sec. Litig., 316 F. Supp. 2d 581, 602 (N.D. Ohio 2004) (“Since fraud is not an

element or requisite to a claim under [the Securities Act], the claims are not subject

to Rule 9(b)[’s] heightened pleading requirement.”). The Complaint easily satisfies

the Rule 8(a) standard.

         The district court refused to apply Rule 8(a), however, citing this Court’s

holding in Ind. State Dist. Council of Laborers v. Omnicare, Inc., 583 F.3d 935, 948

(6th Cir. 2009), that when Securities Act claims “sound in fraud,” Rule 9(b) is



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applicable. 98 But Omnicare has little in common with this case—there, this Court

applied Rule 9(b) to §11 claims based on “GAAP violations [that] sound[ed] in

fraud,” 583 F.3d at 948, a rationale that has no application here as Plaintiff alleges

no GAAP-based claims.

         The district court also relied on the Second Circuit’s opinion in Rombach, 355

F.3d at 172, in concluding that “[t]he language used in [the Complaint]—its

‘wording and imputations’—is ‘classically associated with fraud.’” 99 Specifically,

it pointed to allegations that “Mr. Timm’s roadshow statements were ‘misleading;’

the Registration Statement contained ‘materially false and misleading statements

and omissions’; the Registration Statement was ‘inaccurate and misleading’ and

‘untrue’; and Defendants operated a ‘fraudulent scheme.’” 100            None of these

allegations justifies application of Rule 9(b).

         First, the majority of the allegations cited by the district court as supposedly

being “‘classically associated with fraud’” 101 are strikingly similar to a list provided




98
      Order(RE64)PAGEID#1315
99
      Order(RE64)PAGEID#1315 (quoting Rombach, 355 F.3d at 172)
100
      Order(RE64)PAGEID#1315-1316 (citing Rombach, 355 F.3d at 172)
101
      Order(RE64)PAGEID#1315

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in Rombach. See 355 F.3d at 172 (citing allegations “that the Registration statement

was ‘inaccurate and misleading;’ that it contained ‘untrue statements of material

facts;’ and that ‘materially false and misleading written statements’ were issued”)

(emphasis in original).

         That portion of Rombach’s analysis is deeply problematic.            Rombach

recognizes that “[f]raud is not an element or a requisite to a claim under Section 11

or Section 12(a)(2).” Id. at 171. Thus, the default rule is that Rule 8(a) applies to

such claims, with Rule 9(b) being applicable only when the specific “conduct

alleged” comprises “averments of fraud.” Id.; accord In re Refco, Inc. Sec. Litig.,

503 F. Supp. 2d 611, 631 (S.D.N.Y. 2007) (“Rule 9(b)’s standards apply to Section

11 claims only ‘insofar as the claims are premised on allegations of fraud’”); see

also Nayani v. Lifestance Health Grp., Inc., 2023 U.S. Dist. LEXIS 78411, at *5-*6

(S.D.N.Y. May 4, 2023) (“‘[To] hold that bare recitations of the elements of the

[Securities Act] causes of action triggered Rule 9(b) would be contrary to the

holding … in Rombach … that claims under Section 11 need not sound in fraud.’”)

(quoting Fresno Cnty. Emps.’ Ret. Ass’n v. comScore, Inc., 268 F. Supp. 3d 526, 559

(S.D.N.Y. 2017) (first alteration in original)).

         But Rombach’s analysis—and that of the district court—seemingly falls well

short of this standard. Rombach suggested that allegations that statements were

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“‘inaccurate and misleading,’” and that offering documents “contained ‘untrue

statements of material facts,’” and “‘materially false and misleading written

statements’” were somehow “classically associated with fraud.” 355 F.3d at 172

(emphasis in original). The district court similarly cites the Complaint’s allegations

that Timm’s roadshow statements are “‘misleading,’” and that the Registration

Statement contains “‘materially false and misleading statements and omissions,’” as

well as statements and omissions that are “‘inaccurate and misleading’” and

“‘untrue.’” 102     But these purported “example[s]” 103 of the fraudulent conduct

required to justify application of Rule 9(b), see Rombach, 355 F.3d at 171, are

nothing more than the bare minimum required by the non-fraud statutes involved.

         Section 11 requires “an untrue statement of a material fact or omitt[ing] to

state a material fact required to be stated therein or necessary to make the statements

therein not misleading.”        15 U.S.C. §77k(a).   Thus, virtually every supposed

“example” 104 of fraud identified by the district court—and every allegation cited in

Rombach—is lifted directly from §11’s statutory language.              This approach



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103
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104
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contravenes Rombach’s recognition that fraud is not an element of a §11 claim and

effectively holds that every §11 claim is subject to Rule 9(b)—not just ones in which

the specific “conduct alleged” comprises “averments of fraud,” Rombach, 355 F.3d

at 171—because every §11 claim will allege statements and omissions that are

untrue, misleading, and material. See 15 U.S.C. §77k(a). The same is true of

§12(a)(2), which contains virtually identical language. See 15 U.S.C. §77l(a)(2).

         Several courts have recognized the tension between Rombach’s recognition

that “[f]raud is not an element or a requisite to a claim under Section 11 or Section

12(a)(2),” Rombach, 355 F.3d at 171, and its seeming conclusion that the bare

elements of §11 and §12(a)(2) are “classically associated with fraud.” Id. at 172.

For instance, Refco observed that Rombach’s laundry list of generic §11 allegations

“presents something of a conundrum, because applied literally, it would seem to

require applying a 9(b) standard to all claims under §11…. Fraud, of course, implies

more than falsity, and the mere fact that a statement is misleading (as are all false

statements, whether intentionally, negligently or innocently made) does not make it

fraudulent.” Refco, 503 F. Supp. 2d at 631-32; accord Levy v. Young Adult Inst.,

Inc., 103 F. Supp. 3d 426, 442-45 (S.D.N.Y. 2015); Hoehl Fam. Found. v. Roberts,

2020 U.S. Dist. LEXIS 258005, at *82-*83 (D. Vt. Oct. 15, 2020).



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         Refco resolved the “conundrum,” 503 F. Supp. 2d at 631, by interpreting

Rombach as not rejecting its own analysis and thus not adopting an approach under

which Rule 9(b) is applicable in essentially every §§11 and 12(a)(2) case, but rather

requiring a case-by-case inquiry into the gravamen of the complaint in question.

                It is clear that the Second Circuit did not intend Rombach as an
         instruction that all §11 pleadings should be subjected to the Rule 9(b)
         standard. Nor can the Second Circuit have intended that all allegations
         directly reproducing the language of §11 be subject to Rule 9(b); as
         Rombach acknowledges, violations of §11 claims do not necessarily
         involve fraud. Therefore, the court’s conclusion that the particular
         language in Rombach was indicative of fraud should be read in the
         context of the pleadings at issue in that case, in which the plaintiffs
         “[did] not assert any claim of negligence on the part of the Individual
         Defendants, nor [did] they specify any basis for such a claim.”
         Rombach necessarily requires a case-by-case analysis of particular
         pleadings to determine whether “the gravamen of the complaint is
         plainly fraud.”

Refco, 503 F. Supp. 2d at 632 (alterations in original); accord Levy, 103 F. Supp. 3d

at 442-445; Hoehl, 2020 U.S. Dist. LEXIS 258005, at *83-*84.

         The Complaint makes clear that the gravamen of the §§11, 12(a)(2), and 15

claims here is negligence.105 “Securities Act claims do not sound in fraud if ordinary

negligence is expressly pled in connection with those claims.” Suprema Specialties,

438 F.3d at 272; accord Streambend, 781 F.3d at 1012 (observing that Suprema



105
      Complaint(RE31)PAGEID#744, 747, 759, 767(¶¶105, 112, 158, 171)

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Specialties takes a “sound approach” to Rule 9(b) issues); Woori Bank v. RBS Sec.,

Inc., 910 F. Supp. 2d 697, 705 (S.D.N.Y. 2012) (“If ordinary negligence is alleged

and those claims [are] pled separately from the fraud claims, there is no compelling

reason to trigger Rule 9(b).”); New Jersey v. Sprint Corp., 531 F. Supp. 2d 1273,

1285 (D. Kan. 2008) (following Suprema Specialties and observing that “[t]here is

no indication in … cases [such as Rombach] that the plaintiffs included any

allegations of negligence in support of their Securities Act claims”).

         Here, negligence is “expressly pled,” Suprema Specialties, 438 F.3d at 272,106

and therefore the Complaint’s Securities Act claims “do not sound in fraud.” See id.

         Because the district court here failed to analyze the gravamen of the

Complaint—it merely relied upon generic allegations that would appear in every

case involving §§11 and 12(a)(2) claims 107—this Court should either reverse the

lower court’s Rule 9(b) analysis as Plaintiff’s §§11, 12(a)(2), and 15 claims are

plainly based upon strict liability and negligence, not fraud, 108 or, alternatively, this




106
      Complaint(RE31)PAGEID#744, 747, 759, 767(¶¶105, 112, 158, 171)
107
      Order(RE64)PAGEID#1315-1316
108
      Complaint(RE31)PAGEID#744, 747, 759, 767(¶¶105, 112, 158, 171)

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Court should remand for the lower court to undertake that analysis in the first

instance.

         The district court also relied upon the Complaint’s allegations that

“Defendants operated a ‘fraudulent scheme.’” 109 The referenced scheme allegations,

however, relate only to Plaintiff’s former Exchange Act claims—they are not

included in the §§11, 12(a)(2), and 15 claims at issue in this appeal, which allege

only strict liability and negligence.110 Indeed, Plaintiff affirmatively disavowed

fraud as to those Securities Act claims. 111 But more importantly, in this appeal

Plaintiff has abandoned the Exchange Act allegations cited by the district court.112

Accordingly, those allegations provide no basis for importing allegations of fraud

into claims based solely on strict liability and negligence.113




109
      Order(RE64)PAGEID#1315-1316
110
      Complaint(RE31)PAGEID#764, 766(¶¶187, 194)
111
      Complaint(RE31)PAGEID#758, 760, 763(¶¶154, 165, 178)
112
    Plaintiff has also abandoned claims affirmatively based on Timm’s roadshow
statements.
113
   In Ind. State Dist. Council v. Omnicare, Inc., 719 F.3d 498, 502 (6th Cir. 2013),
vacated, Omnicare, 575 U.S. 175, this Court rejected an argument based “primarily
on a disclaimer” of fraud, but that decision was vacated by the Supreme Court, and,
regardless, is irrelevant because there the §11 claims were based upon fraudulent
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         Even if the Exchange Act claims had not been abandoned, there still is no

basis for attributing fraud to §§11, 12(a)(2), and 15 claims that contain no

allegations of fraud. “[W]here, as here, individual defendants are accused in

separate claims of the same complaint of having violated Section 11, Section

12(a)(2), and Section 10(b), the Securities Act claims do not sound in fraud if

ordinary negligence is expressly pled in connection with those claims. In such a case,

the fraud allegations cannot be said to ‘contaminate’ the Section 11 and Section

12(a)(2) claims if the allegations are pled separately.” Suprema Specialties, 438

F.3d at 272-73; accord Streambend, 781 F.3d at 1011-12. Thus, the district court’s

reliance on fraud allegations not incorporated into the §§11, 12(a)(2), and 15 claims

in order to justify application of Rule 9(b) was error.

         Regardless, Plaintiff has sufficiently alleged Securities Act claims under any

pleading standard because the Complaint details the precise “time, place and

contents of the misrepresentations” made in connection with the IPO. See In re

Regions Morgan Keegan Sec., Derivative, & ERISA Litig., 743 F. Supp. 2d 744, 759-

60 (W.D. Tenn. 2010) (finding Securities Act claims satisfied Rule 9(b) because the

plaintiff identified the material misrepresentations, stated when they were made, and


conduct—the GAAP violations. See Omnicare, 583 F.3d at 948. The same is not
true here.

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explained why the statements were misleading) (citing Frank v. Dana Corp., 547

F.3d 564, 570 (6th Cir. 2008)). Moreover, the district court’s Order identifies no

issue in which the 9(b) standard was dispositive. Thus, even if this Court disagrees

with the preceding Rule 9(b) analysis, Plaintiff should prevail regardless of the

applicable standard.

                    3.   Defendants’ statement that its mobile-directed
                         customer-acquisition strategy was “delivering
                         customer acquisition costs below the average cost of
                         doing so” was false and misleading because it was not
                         doing so at the time of the IPO.

                         a.     The statement was false and misleading.

         The Registration Statement emphasized Root’s ability to exploit the mobile-

device channel, observing that it “is the fastest growing retail channel in the United

States” and explaining that “[w]e therefore designed a mobile-directed customer

acquisition strategy, delivering customer acquisition costs below the average cost of

doing so through each of the direct and agent channels.” 114 But that statement was

false and misleading. In fact, when Defendants spoke, Root’s customer-acquisition

strategy was not “delivering customer acquisition costs below the average cost”—

Root’s CAC had spiked to over $500 during the third fiscal quarter of 2020, meaning



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      Complaint(RE31)PAGEID#744-745(¶106)

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that as of the date of the IPO Root was performing like a typical insurer, not one that

enjoyed a competitive advantage as to CAC. 115

         The district court disagreed, reasoning that the statement related only to

“Root’s past performance” and “unambiguously provides that Root ‘designed’ a

mobile-centric customer generating strategy that was ‘delivering’ CAC superior to

the average CAC associated with ‘direct and agent channels.’” 116 With all due

respect, the district court’s analysis is internally contradictory. It is true that

Defendants’ statement indicates that the design of Root’s mobile-directed customer-

acquisition strategy had been completed in the past—“we therefore designed a

mobile-directed customer acquisition strategy.” 117 But the district court went on to

say that the statement indicates that the previously-designed strategy “was

‘delivering’ CAC superior to the average CAC associated with ‘direct and agent

channels.’” 118




115
   Complaint(RE31)PAGEID#726, 739, 741-742, 744-745, 752-755(¶¶7-8, 80, 94,
106, 131-135)
116
      Order(RE64)PAGEID#1324 (emphasis in original)
117
      Complaint(RE31)PAGEID#744-745(¶106)
118
      Order(RE64)PAGEID#1324 (emphasis in original)

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         But it wasn’t delivering that superior performance—as of the time of the IPO

the performance it was delivering was no better than that of the typical insurer, a

situation highly likely to worsen in light of the 50-state investment strategy Root

was implementing. 119 The statement’s use of the term “delivering” is indicative of

present activity, i.e., that the strategy was at the time of the IPO delivering “superior”

CAC performance. The language of the district court’s Order seems to embrace that

reading—it states “Root ‘designed’ a mobile-centric customer generating strategy

that was ‘delivering’ CAC superior to the average CAC”—but the court does not

grapple with the consequence of its (entirely proper) present-tense reading of the

term “delivering.” That present-tense reading compels the conclusion that the

district court’s own reasoning demonstrates that it erred.

         Moreover, “whether [Defendants’] statement is ‘misleading’ depends on the

perspective of a reasonable investor,” Omnicare, 575 U.S. at 186, and a reasonable

investor—or “reasonable juror” as this Court put it in Bridgestone, 399 F.3d at 672—

could easily conclude that Defendants’ statement patting themselves on the back for

designing a strategy “delivering customer acquisition costs below the average cost




119
   Complaint(RE31)PAGEID#725-726, 739, 741-742, 744-746, 752-755(¶¶7-9,
80, 94, 106-108, 131-135)

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of doing so through each of the direct and agent channels”120 conveyed that the

strategy actually was delivering customer-acquisition costs below the average cost

of doing so through each of the direct and agent channels. It wasn’t as of the time

of the IPO and the statement was therefore false.

                       b.       Having raised the issue of their CAC,
                                Defendants failed “to speak fully and
                                truthfully” about it by not disclosing that as of
                                the IPO Root’s CAC was actually no different
                                from the typical insurer’s CAC.

                                (1)   The misleading omission.

         Alternatively, having spoken in the Registration Statement to their strategy’s

ability to deliver CAC below the industry-average CAC—and thus to confer a

competitive advantage on Root—Defendants “disclose[d] material facts in

connection with securities transactions” and therefore “‘assume[d] a duty to speak

fully and truthfully on those subjects.’”             Helwig, 251 F.3d at 561; accord

Bridgestone, 399 F.3d at 670. By failing to disclose that as of the time of the IPO

that the strategy was not working, and that CAC was skyrocketing, Defendants

violated the duty set forth in Helwig and Bridgestone.




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      Complaint(RE31)PAGEID#744-745(¶106)

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         Indeed, both §§11 and 12(a)(2) permit omissions-based liability. Section 11

provides for liability when a Registration Statement “omit[s] to state a material

fact … necessary to make the statements therein not misleading.”              15 U.S.C.

§77k(a). Section 12(a)(2) similarly provides for liability when “a prospectus or oral

communication … omits to state a material fact necessary in order to make the

statements, in the light of the circumstances under which they were made, not

misleading.” 15 U.S.C. §77l(a)(2).

         Here, by celebrating a purportedly successful “mobile-directed customer

acquisition strategy” that was “delivering customer acquisition costs below the

average cost of doing so through each of the direct and agent channels,”121 while not

disclosing that it was not delivering low CAC as of the IPO, Defendants “misle[d]

investors by saying one thing and holding back another.” Omnicare, 575 U.S. at

192. Indeed, given that Root’s deteriorating CAC performance—it was already no

better than the typical insurer and Root’s competitive advantage had thus

evaporated 122—was highly likely to worsen in light of the 50-state strategy in which




121
      Complaint(RE31)PAGEID#744-745(¶106)
122
   Complaint(RE31)PAGEID#725-726, 739, 741-742, 744-746, 752-755(¶¶7-9,
80, 94, 106-108, 131-135)

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Root was investing,123 Defendants plainly did not “‘speak fully and truthfully on

[the] subject[]’” of Root’s CAC, see Helwig, 251 F.3d at 561, when they informed

investors that Root’s strategy was “delivering customer acquisition costs below the

average cost of doing so through each of the direct and agent channels”124 without

disclosing that Root’s CAC then exceeded $500. 125 Defendants thus failed to

disclose material facts that were necessary to make the statements in the Registration

Statement not misleading.

                                (2)   The district court’s omissions analysis is
                                      mistaken.

         In addition to mischaracterizing Defendants’ statement that Root was

“‘delivering customer acquisition costs below the average cost of doing so,’” 126 the

district court provided several additional reasons for rejecting Plaintiff’s omissions

theories. 127 All are erroneous.




123
      Complaint(RE31)PAGEID#726, 740, 745-746(¶¶9-10, 89, 108)
124
      Complaint(RE31)PAGEID#744-745(¶106)
125
      Complaint(RE31)PAGEID#727, 741-742, 752-755(¶¶15, 94-95, 131-135)
126
      Order(RE64)PAGEID#1323-1324
127
      Order(RE64)PAGEID#1336-1339

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         First, the court simply denied that there was a disclosure duty because

Defendants had truthfully disclosed favorable information about Root’s CAC

between August 2018 and August 2020—it was $332 compared to over $500 as of

the time of the IPO 128—and that the as-of-the-IPO increase was immaterial. 129 But

Plaintiff contends it was Defendants’ creation of the misleading impression that

Root’s strategy was then presently delivering favorable CAC performance that gave

rise to a duty to be truthful and complete under Helwig and Bridgestone, not their

reports of their performance up to August 2020. The district court’s analysis of the

past-performance statements was thus irrelevant.

         Moreover, the court’s suggestion that the dramatic increase in Root’s

crucial—and oft-touted—CAC metric was immaterial ignores both well-settled

authority establishing that materiality is a jury question that is only rarely

appropriately resolved at the motion-to-dismiss stage and the centrality of the CAC

metric to Root’s business and investors.

         “The [materiality] determination requires delicate assessments of the

inferences a ‘reasonable shareholder’ would draw from a given set of facts and the



128
      Complaint(RE31)PAGEID#725-726, 741-742, 752-755(¶¶7-8, 94, 131-135)
129
      Order(RE64)PAGEID#1329

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significance of those inferences to him, and these assessments are peculiarly ones

for the trier of fact.” TSC Indus. v. Northway, 426 U.S. 438, 450 (1976).130

“[W]hether or not a statement is material turns on ‘a fact-intensive test,’” and

“‘“depends on the significance the reasonable investor would place on the withheld

or misrepresented information.”’” Bridgestone, 399 F.3d at 669; see also Litwin v.

Blackstone Grp., L.P., 634 F.3d 706, 716-17 (2d Cir. 2011) (“Materiality is an

‘inherently fact-specific finding.’”) (quoting Basic, Inc. v. Levinson, 485 U.S. 224,

236 (1988)). Courts ask “would the information, had it been presented accurately,

have “‘significantly altered the ‘total mix’ of information made available?”’”

Bridgestone, 399 F.3d at 669.

         Ultimately, the question is “was [the dramatic increase in CAC as of the IPO]

‘“so obviously unimportant to a reasonable investor that reasonable minds could

not differ on the question of [its] unimportance?”’” Id. at 679 (emphasis and second

alteration in original). While the district court generally stated the appropriate

standard—noting “‘the reasonable investor’” and “‘“total mix of information”’”




130
   Because the omitted information concerned facts regarding Root’s CAC as of the
time of the IPO, it is considered to be “‘hard information.’” In re Omnicare, Inc.
Sec. Litig., 769 F.3d 455, 470 (6th Cir. 2014).

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standards 131—it did not acknowledge the substantial burden to demonstrate

“‘“obvious[] unimportan[ce]”’” that must be met to justify dismissal on materiality

grounds at the pleading stage. See Bridgestone, 399 F.3d at 669, 679.

         There is little doubt that under these standards that Plaintiff has adequately

pleaded materiality. The Complaint’s allegations—presumed true and “‘construed

in the plaintiff’s favor,’” at this stage, Helwig, 251 F.3d at 553—together offer a

compelling showing of the over-arching materiality of Root’s CAC. 132 CAC is “one

of the most important measures of profitability” for a growth-phase company like

Root, and the Registration Statement missed no opportunities to emphasize that CAC

comprised an area of competitive advantage for Root, which had maintained a well-

below-average CAC of $332 for the period of August 2018 to August 2020.133

Indeed, Root emphasized that CAC was one of Root’s four “principal profitability

levers.”134 Defendants thus gave investors the impression that CAC comprised a




131
      Order(RE64)PAGEID#1317
132
      Complaint(RE31)PAGEID#737-739(¶¶73-86)
133
      Complaint(RE31)PAGEID#725-726, 738-739(¶¶6-8, 75-80)
134
      Complaint(RE31)PAGEID#738(¶76)

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powerful competitive advantage for Root—an advantage that was supposedly based

upon Root’s successful data-driven marketing efforts.135

         Investors and analysts were keenly focused on Root’s CAC prior to the IPO,

as reflected in multiple pre-IPO articles discussing Root’s $332 CAC. 136 Moreover,

Defendant Rosenthal jokingly—but tellingly—confirmed the over-arching

materiality of Root’s CAC during Root’s first earnings call as a public company by

stating that “although this is our first earnings call, I have a feeling that wouldn’t be

an earnings call without a question from you on CAC.” 137 CAC is thus so crucial to

evaluation of Root’s business that acute analyst interest in it is a given.

         Under these circumstances, a reasonable investor would perceive a sharp

increase in CAC to “have “‘significantly altered the ‘total mix’ of information made

available.”’” Bridgestone, 399 F.3d at 669. Root itself emphasized its CAC and

analysts confirmed that metric’s centrality. See Dirks v. SEC, 463 U.S. 646, 658-

659 (1983) (“It is commonplace for analysts to ‘ferret out and analyze

information’”). Moreover, Root’s CAC inflation was virtually certain to be of great



135
      Complaint(RE31)PAGEID#734, 740(¶¶48, 87-88)
136
      Complaint(RE31)PAGEID#739(¶¶81-85)
137
      Complaint(RE31)PAGEID#754-755(¶135)

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interest to investors because of Root’s plans for further investment designed to build

a national brand. 138 Thus, investors would certainly pause when informed that

Root’s CAC was already inflated with further investment in a national-advertising

campaign—with concomitant CAC increases—certain to come. 139 That Root’s

CAC was already skyrocketing upward was not “‘“so obviously unimportant to a

reasonable investor that reasonable minds could not differ on the question of [its]

unimportance.”’” Bridgestone, 399 F.3d at 679 (emphasis omitted).

         Second, the district court held that Timm updated investors as to the CAC

increases at in his roadshow comments.140 Timm’s comments are irrelevant to

whether the Registration Statement was misleading.           Indeed, the Registration

Statement informed investors that they should rely only on the Registration

Statement itself.141

         And, in any event, Timm misleadingly insisted that—despite a fiscal quarter

of disappointing CAC results—that “[o]ur customer acquisition cost has maintained




138
      Complaint(RE31)PAGEID#740(¶89)
139
      Complaint(RE31)PAGEID#740(¶89)
140
      Order(RE64)PAGEID#1337-1338
141
      Complaint(RE31)PAGEID#736(¶¶62-63)

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well below the direct average and so we really are more competitive,” and described

“the recent [CAC] spike” as an insignificant “short term” phenomenon resulting

from “experimentation on brand.”142 Whether Timm’s internally contradictory

statements could enlighten any investor plainly poses a factual question that cannot

be resolved at the this stage under the “‘“so obviously unimportant to a reasonable

investor”’” test. See Bridgestone, 399 F.3d at 679 (emphasis omitted). Nor was

there any basis for claiming CAC increases were “short term”—Root was

“launch[ing] a national advertising campaign to build [its] brand awareness”—

hardly a short-term endeavor.143

         Nor is there any legal basis for the district court’s reliance on the roadshow

statements to supply information omitted from the Registration Statement—the

district court overlooked the fact that “‘[t]here are serious limitations on a

corporation’s ability to charge its stockholders with knowledge of information

omitted from a document such as a ... prospectus on the basis that the information is

public knowledge and otherwise available to them.’” N.J. Carpenters Health Fund




142
      Complaint(RE31)PAGEID#750(¶124)
143
      Complaint(RE31)PAGEID#745-746(¶108)

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v. Royal Bank of Scot. Grp., PLC, 709 F.3d 109, 127 (2d Cir. 2013) (alterations in

original).

         Indeed, principles of statutory construction demonstrate that the structure of

§11 precludes any effort to impute knowledge of omitted facts to investors:

                 The ’33 Act itself implicitly limits the impact of public
         information on materiality determinations. Section 11 creates an
         affirmative defense where a defendant can prove that “at the time
         of ... acquisition,” the purchaser “knew” of the alleged “untruth or
         omission.” 15 U.S.C. §77k(a).… If courts held that merely available,
         as opposed to widely known, public information exposed an untruth or
         omission, thereby rendering it immaterial, they would effectively shift
         the burden of proof on §11’s affirmative defense, presuming that the
         plaintiff should have known the relevant information rather than
         requiring the defendant to prove actual knowledge.
Id. at 127 n.12 (emphasis in original).

         The district court committed the very error identified in N.J. Carpenters: it

relieved Defendants of the burden to prove that investors were aware of Timm’s

roadshow remarks—and somehow understood them to reveal, rather than obscure,

Root’s deteriorating CAC performance—and “presum[ed] that the plaintiff should

have known the relevant information rather than requiring [Defendants] to prove

actual knowledge.” See id.; see also 15 U.S.C. §77k(a) (imposing liability for false

statements and omissions “unless it is proved that at the time of such acquisition he

knew of such untruth or omission”).


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         Relatedly, “Section 12(a)(2) requires the plaintiff to prove that it did not [have

actual knowledge] of the material misstatement in the prospectus.” Fed. Hous. Fin.

Agency v. Nomura Holding Am., Inc., 873 F.3d 85, 122 (2d Cir. 2017). While

circumstantial evidence is relevant to actual knowledge, that does not mean that

constructive knowledge suffices.         See id.    Rather, “[t]he mere ‘[a]vailability

elsewhere of truthful information cannot excuse untruths or misleading omissions in

the prospectus.’ A plaintiff is entitled to recover under Section 12 if it was genuinely

unaware of the falsity no matter how easily accessible the truth may have been.” Id.

(emphasis in original).

         The Complaint pleads that Plaintiff did not and could not have known of the

misstatements and omissions in the Registration Statement at the time it acquired its

Root shares. 144 Whether Timm’s misleading and inconsistent statements regarding

Root’s CAC can somehow establish Plaintiff’s actual knowledge of the true state of

Root’s CAC as of the IPO is plainly a factual question that is not properly resolved

at this stage.

         Third, the court noted that “the Registration Statement also warned investors

that Root was engaging in a national marketing campaign that could result in



144
      Complaint(RE31)PAGEID#762(¶173)

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elevated CAC in the long term,” but that purported warning was utterly ineffectual—

it did not reveal that that Root’s CAC was already elevated as of the IPO. 145 “‘To

warn that the untoward may occur when the event is contingent is prudent; to caution

that it is only possible for the unfavorable events to happen when they have already

occurred is deceit.’” Rubinstein, 20 F.3d at 171; accord infra at 65-69 (arguing that

Root’s purported risk warning is itself actionable). Defendants’ purported risk

warning was misleading and cannot excuse their misleading omissions.

         The district court’s last two justifications for Defendants’ omissions are even

more tenuous. Its fourth argument suggests that the Complaint does not “allege any

facts suggesting that Root no longer had a competitive CAC as compared to other

channels as of the IPO.” 146 The court reasoned that the Complaint’s allegations

relate “exclusively to Root’s short-term increase in its own CAC due to the

nationwide marketing campaign; the [Complaint] is silent as to whether this elevated

CAC eliminated Root’s advantage as to other channels as of the IPO.” 147 This

Defendant-friendly speculation runs afoul of the court’s obligation to “‘construe the


145
   Order(RE64)PAGEID#1337-1338; Complaint(RE31)PAGEID#727, 741-742,
752-755(¶¶15, 94, 131-135)
146
      Order(RE64)PAGEID#1338
147
      Order(RE64)PAGEID#1338 (emphasis omitted)

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complaint in a light most favorable to the plaintiff, and … [w]hen an allegation is

capable of more than one inference, it must be construed [by the court] in the

plaintiff’s favor.’” Helwig, 251 F.3d at 553.

         Moreover, Defendants portrayed Root’s CAC as a competitive advantage in a

unitary sense—it informed investors that its strategy was “delivering customer

acquisition costs below the average cost of doing so through each of the direct and

agent channels”148 without disclosing that Root’s CAC was then no better than that

of the average company. 149 And even if Defendants’ CAC were broken down on a

channel-by-channel basis, Defendants cannot conceal its materially poor CAC

performance by somehow aggregating results as to other (unidentified) channels as

the district court’s entirely speculative analysis posits. Cf. Litwin, 634 F.3d at 719

(a company “is not permitted, in assessing materiality, to aggregate negative and

positive effects on its performance fees in order to avoid disclosure of a particular

material negative event”).

         Finally, the court reasoned that “Plaintiff fails to allege any facts that Root’s

short-term increase in CAC meant that it could not, in the long term, maintain


148
      Complaint(RE31)PAGEID#744-745(¶106)
149
   Complaint(RE31)PAGEID#725-726, 739, 741-742, 744-746, 752-755(¶¶7-9,
80, 94, 106-108, 131-135)

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competitively low CAC.” 150 That reasoning suggests that it is permissible to mislead

investors as to Root’s elevated CAC as of the time of the IPO so long as it possible

that Root may achieve a competitive CAC sometime in the future.

         But this Court has explained that “‘“the fundamental purpose of the

[Securities] Act [is] implementing a philosophy of full disclosure,”’” and “‘to

substitute a philosophy of full disclosure for the philosophy of caveat emptor.’”

Bridgestone, 399 F.3d at 668. Accordingly, the Complaint need not plead facts

suggesting that Root could never regain its competitive advantage as to CAC in the

future as a predicate for seeking redress for Defendants’ misleading omissions

regarding its CAC as of the date of the IPO—Defendants violated their duty of

“‘“full disclosure.”’”      Id.    Moreover, “[t]he law assesses the materiality of a

misrepresentation at the time it is made, not after intervening events or remedial

action have rendered it harmless.” SEC v. Reyes, 491 F. Supp. 2d 906, 909-910

(N.D. Cal. 2007).

         Investors were entitled to decide for themselves whether they wished to bet

on Root’s ability to recover its competitive advantage despite its current poor CAC

performance coupled with Root’s plans for a no-doubt expensive national-brand-



150
      Order(RE64)PAGEID#1338 (emphasis omitted)

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building campaign.151 Defendants denied them that opportunity and are therefore

liable. See Meyer, 761 F.3d at 251 (“the failure to disclose then-ongoing and serious

[problems] would cause a reasonable investor to make an overly optimistic

assessment of the risk”).

                    4.   Defendants’ present-tense statement that Root’s
                         “strategy has resulted in a cost of acquisition
                         advantage” was false and misleading at the time.

                         a.     The statement was false when made.

         The Registration Statement stated that “[t]he efficiency of our customer

acquisition strategy has resulted in a cost of acquisition advantage versus direct and

agent channels.”152 That statement—employing “the present-tense [verb] ‘has’”

rather than “the past-tense verb ‘had,’” see Barton, 100 F.3d at 45—was an

unambiguous declaration that Root’s customer-acquisition strategy was then

presently providing “a cost of acquisition advantage versus direct and agent

channels.”153 That wasn’t true—as of the date of the IPO, Root’s CAC was no better




151
   Complaint(RE31)PAGEID#726-727, 740, 745-746, 752-755(¶¶9, 15, 89, 94,
108, 131-135)
152
      Complaint(RE31)PAGEID#744-745(¶106)
153
      Complaint(RE31)PAGEID#744-745(¶106)

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than that of the typical insurer. 154     Its customer-acquisition strategy was not

producing the claimed results, and, due to Root’s national advertising campaign, it

was highly unlikely that it would do so in the future.155 “[W]hether a statement is

‘misleading’ depends on the perspective of a reasonable investor,” Omnicare, 575

U.S. at 186, and because “a reasonable investor” could interpret Defendants’

present-tense statement as (falsely) describing Root’s then-present performance, the

statement is actionable.

         The district court—without ever addressing “the perspective of a reasonable

investor,” Omnicare, 575 U.S. at 186—disagreed.            The district court viewed

Defendants’ statement as implicating the duty to update.156 It is mistaken. “The

duty to update ‘concerns statements that, although reasonable at the time made,

become misleading when viewed in the context of subsequent events.’” Helwig, 251

F.3d at 561 n.6. Thus, a plaintiff need only rely on a duty-to-update theory when a

statement was “‘reasonable at the time made,’” and later became “‘misleading when



154
   Complaint(RE31)PAGEID#725-727, 739, 741-742, 752-755(¶¶7, 10, 15, 80, 94-
95, 131-135)
155
   Complaint(RE31)PAGEID#726, 740-742, 745-746, 752-754(¶¶9-10, 89, 94-96,
108, 131-134)
156
      Order(RE64)PAGEID#1325

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viewed in the context of subsequent events.’” Id. But where, as here, a statement is

“misleading not only in light of later events but also at the time [it was] made,” the

duty to update is inapposite. See id. Defendants’ statement was “misleading … at

the time [it was] made,” id., because as of the date of the IPO, Root was not

benefitting from “a cost of acquisition advantage versus direct and agent

channels”—its CAC was no better than that of the typical insurer. 157

         The district court, however, somehow concluded that “this statement, which

is expressly limited to a 24-month period, is not misleading.” 158 The district court’s

analysis is perplexing—the statement that “[t]he efficiency of our customer

acquisition strategy has resulted in a cost of acquisition advantage versus direct and

agent channels” 159 contains no “express[]” (or implied) temporal limitation, let alone

an “express[]” limitation to a 24-month period. 160 Indeed, if Defendants had wanted

to do so, they could easily have said “[t]he efficiency of our customer acquisition




157
   Complaint(RE31)PAGEID#725-727, 739, 741-742, 744-745, 752-755(¶¶7, 15,
80, 94, 106, 131-135)
158
      Order(RE64)PAGEID#1325
159
      Complaint(RE31)PAGEID#744-745(¶106)
160
      Order(RE64)PAGEID#1325

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strategy ha[d] resulted in a cost of acquisition advantage versus direct and agent

channels [for a 24-month period].” 161 They didn’t.

         Because the statement plainly contains no express temporal limitation, the

district court must have inferred it from Defendants’ recitation of Root’s past

performance in the sentence following the challenged one.

                 The efficiency of our customer acquisition strategy has resulted
         in a cost of acquisition advantage versus direct and agent channels.
         While our customer acquisition costs can vary by channel mix, by state
         or due to seasonality, over the period from August 2018 to August 2020
         our average customer acquisition cost was $332. In the near term, as
         we expand our licensed footprint to 50 states, we will invest in our
         national brand, which will increase awareness, build credibility and
         support all four of our distribution channels. 162

Nothing in that second sentence suggests that it serves to limit the scope of its

predecessor—indeed, the first sentence describes present performance, while its

successor is focused on past performance, i.e., “[what] our average customer

acquisition cost was” in a two-year period ending weeks before the IPO. 163

         The district court was obligated to “‘construe the complaint in a light most

favorable to the plaintiff, and … [w]hen an allegation is capable of more than one



161
      Complaint(RE31)PAGEID#744-745(¶106)
162
      Complaint(RE31)PAGEID#744-745(¶106)
163
      Complaint(RE31)PAGEID#744-745(¶106)

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inference, it must be construed in the plaintiff’s favor.’” Helwig, 251 F.3d at 553.

A reasonable investor plainly could interpret Defendants’ statements to: (1) in the

first sentence, describe present performance; and (2) in the second sentence, offer

supporting evidence of past performance in an effort to substantiate the first

sentence’s claim of positive present performance. But even assuming it is possible

to construe the second sentence to change the meaning of the first from describing

present performance with present-tense language to referring solely to past

performance ending weeks before the IPO was conducted, it was error for the district

court to choose that unlikely inference over the one favoring Plaintiff that it was

obligated to draw. See id. The statement is actionable.

                       b.       The statement is misleading because Defendants
                                omitted the fact that there was no CAC
                                advantage as of the date of the IPO.

         Because Defendants spoke in the Registration Statement about their strategy’s

then-present ability to deliver CAC below the industry-average CAC and Root’s

exceptionally low CAC—$332—over a two-year period from August 2018 to

August 2020, they “disclose[d] material facts in connection with securities

transactions” and therefore “‘assume[d] a duty to speak fully and truthfully on those

subjects.’” Id. at 561. They did not satisfy that obligation, and thus are liable under

the omissions provisions of §§11 and 12(a)(2).

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         By combining their present-tense claims of a competitive advantage in CAC

with a reference to Root’s successful two-year run from August 2018 to August

2020, without also disclosing that that successful run had come to a screeching halt

as of the IPO, Defendants “omitted to state a material fact … necessary to make the

statements [in the Registration Statement] not misleading.” 15 U.S.C. §77k(a). That

was especially true in light of the facts that Root’s CAC no longer comprised a

competitive advantage, Root’s CAC had dramatically increased to the extent that it

was no better than that of the typical insurer, and the situation was highly likely to

worsen in light of Root’s national-advertising campaign.164 Defendants thus did not

“‘speak fully and truthfully on [the] subject[]’” of Root’s CAC, see Helwig, 251 F.3d

at 561, when it informed investors that its strategy was “delivering customer

acquisition costs below the average cost of doing so through each of the direct and

agent channels”165 without disclosing that Root’s CAC then exceeded $500.166

         The district court’s additional reasons for rejecting the Complaint’s omissions

allegations are without merit as previously explained. See supra at 47-59.


164
   Complaint(RE31)PAGEID#725-726, 739, 741-742, 744-746, 752-755(¶¶7-9,
80, 94, 106-108, 131-135)
165
      Complaint(RE31)PAGEID#744-745(¶106)
166
      Complaint(RE31)PAGEID#739, 741-742, 752-755(¶¶80, 94, 131-135)

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                    5.   Because the risk had already materialized, Root’s
                         CAC risk warning was misleading and actionable.

         Defendants included a purported risk warning in the Registration Statement,

stating that “[a]s we grow, we may struggle to maintain cost-effective marketing

strategies, and our customer acquisition costs could rise substantially.” 167 But “‘[t]o

warn that the untoward may occur when the event is contingent is prudent; to caution

that it is only possible for the unfavorable events to happen when they have already

occurred is deceit.’” Rubinstein, 20 F.3d at 171; accord Alphabet, 1 F.4th at 703;

FindWhat Inv. Grp. v. FindWhat.com, 658 F.3d 1282, 1299 (11th Cir. 2011); In re

Westinghouse Sec. Litig., 90 F.3d 696, 710 (3d Cir. 1996)); Teamsters Loc. 237

Welfare Fund v. ServiceMaster Glob. Holdings, Inc., 2022 U.S. Dist. LEXIS 59854,

at *91-*92 (W.D. Tenn. Mar. 31, 2022); Zwick Partners, LP v. Quorum Health

Corp., 2018 U.S. Dist. LEXIS 97942, at *21 (M.D. Tenn. Apr. 19, 2018); see also

Rombach, 355 F.3d at 173 (“Cautionary words about future risk cannot insulate from

liability the failure to disclose that the risk has transpired.”).

         Such risk warnings—referring to only the possibility of a negative result

sometime in the future—effectively imply that no such negative result has already




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      Complaint(RE31)PAGEID#746(¶110)

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occurred or omit the material fact that such results have already occurred. 168 That is

why the courts have repeatedly condemned such warnings as misleading. See, e.g.,

Rubinstein, 20 F.3d at 171; see also Shaw, 537 F.3d at 541-42 (a statement is

misleading when it “‘affirmatively create[s] an impression of a state of affairs that

differs in a material way from the one that actually exists’”). Indeed, courts have

repeatedly relied on these principles to find that sham risk warnings—like the one

issued here—that purport to warn of material risks that have already materialized

without disclosing that the risks have transpired are misleading and actionable. See,

e.g., Hurwitz v. LRR Energy, L.P., 241 F. Supp. 3d 491, 504-05 (D. Del. 2017); In

re Facebook, Inc. IPO Sec. & Derivative Litig., 986 F. Supp. 2d 487, 516, 518

(S.D.N.Y. 2013); In re Van der Moolen Holding N.V. Sec. Litig., 405 F. Supp. 2d

388, 400 (S.D.N.Y. 2005).

         In short, “the failure to disclose then-ongoing and serious [problems] would

cause a reasonable investor to make an overly optimistic assessment of the risk. A

generic warning of a risk will not suffice when undisclosed facts on the ground would



168
    Thus, the supposed risk warning is not “a forward-looking statement concerning
Root’s future CAC,” or “a prediction about Root’s future,” as the district court
suggested. Order(RE64)PAGEID#1329. Again, the district court’s additional
reasons for rejecting the Complaint’s omissions allegations are meritless. See supra
at 47-59.

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substantially affect a reasonable investor’s calculations of probability.” See Meyer,

761 F.3d at 251. Defendants’ warning here is exactly what Meyer condemned. They

issued a “generic warning,” id., that “[a]s we grow, we may struggle to maintain

cost-effective marketing strategies, and our customer acquisition costs could rise

substantially,” 169 when Root’s CAC had already risen prior to the IPO to a level

associated with the typical insurer. 170 Defendants thus caused investors to undertake

an “overly optimistic assessment of the risk” that Root’s competitive advantage in

CAC might not survive Root’s national advertising campaign. See Meyer, 761 F.3d

at 251.        Defendants’ purported warning was therefore plainly misleading and

actionable, as multiple courts have held. See, e.g., Rubinstein, 20 F.3d at 171.

         Relatedly, multiple courts have recognized that warning that a risk may occur

when in fact it had already materialized is so misleading that it may not serve to

render harmless misleading forward-looking statements under the bespeaks-caution

doctrine. As the Second Circuit colorfully put it, “‘[t]he doctrine of bespeaks caution

provides no protection to someone who warns his hiking companion to walk slowly

because there might be a ditch ahead when he knows with near certainty that the


169
      Complaint(RE31)PAGEID#746(¶110)
170
   Complaint(RE31)PAGEID#725-727, 739, 741-742, 752-755(¶¶7, 15, 80, 94,
131-135)

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Grand Canyon lies one foot away.’” Rombach, 355 F.3d at 173; accord In re

Harman Int’l Indus., Inc. Sec. Litig., 791 F.3d 90, 103 (D.C. Cir. 2015).

         The district court here simply failed to recognize that “there is an important

difference between warning that something ‘might’ occur and that something

‘actually had’ occurred.” Harman, 791 F.3d at 103 (emphasis in original); accord

Wilson v. Merrill Lynch & Co., 671 F.3d 120, 130 (2d Cir. 2011). Such purported

cautionary language is plainly “misleading.” Harman, 791 F.3d at 108.

         Indeed, the purpose of cautionary language is to “warn[] investors that bad

things may come to pass” in order to aid them “in dealing with the contingent or

unforeseen future.” P. Stolz Fam. P’ship L.P. v. Daum, 355 F.3d 92, 97 (2d Cir.

2004). But “present fact—knowledge [that is] within the grasp of the offeror—is a

different matter. Such facts exist and are known; they are not unforeseen or

contingent. It would be perverse indeed if an offeror could knowingly misrepresent

historical [or present] facts but at the same time disclaim those misrepresented facts

with cautionary language.” Id.; see also Harman, 791 F.3d at 101 (observing that to

be useful, warnings must be “tailored to a particular company’s status at a particular

time” and disapproving “cautionary statements that are too temporally general”).

         The district court’s sole rejoinder to this solid wall of authority is a citation to

a single 27-year-old district court decision from the Northern District of California,

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Zeid, 930 F. Supp. at 437. 171 It further rejected cases cited by Plaintiff—such as

Facebook, 986 F. Supp. 2d 487—as “out-of-circuit” despite acknowledging that they

“are factually similar.” 172 Zeid, of course, is also an out-of-circuit case.

         But the flaws in the district court’s reliance on Zeid are not limited to

geography. First, Zeid contains no relevant analysis, cites none of the authorities

addressed above, and simply rejects the plaintiff’s argument as “absurd.” See 930

F. Supp. at 437. But the argument was not so absurd—a host of Ninth Circuit

opinions have flatly rejected Zeid’s approach. See Alphabet, 1 F.4th at 703-04

(observing that “[r]isk disclosures that ‘speak[] entirely of as-yet-unrealized risks

and contingencies’ and do not ‘alert[] the reader that some of these risks may already

have come to fruition’ can mislead reasonable investors” and collecting post-Zeid

Ninth Circuit cases) (alterations in original). In short, Zeid is utterly unpersuasive

and the district court’s Zeid-based analysis should be rejected.




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      Order(RE64)PAGEID#1329
172
      Order(RE64)PAGEID#1329-1330

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         C.         The District Court Erred in Dismissing the §15 Claim

         The Complaint alleges a §15 control-person claim against Root and the

Individual Defendants. 173 Such a claim “grounds liability of control persons on the

corporation being found liable under Section 11 or 12.” J&R, 549 F.3d at 398. The

court dismissed the §15 claim because there was no primary violation under §§11 or

12(a)(2). 174 Because the foregoing demonstrates that the Complaint’s §§11 and

12(a)(2) claims are viable, this Court should reverse the dismissal of the §15 claim.

VII. CONCLUSION

         On the basis of the foregoing, this Court should reverse as to the §11,

§12(a)(2), and §15 claims.

 DATED: July 12, 2023                     Respectfully submitted,

                                          ROBBINS GELLER RUDMAN
                                           & DOWD LLP
                                          STEVEN F. HUBACHEK
                                          JONAH H. GOLDSTEIN


                                                      s/Steven F. Hubachek
                                                    STEVEN F. HUBACHEK




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      Complaint(RE31)PAGEID#763-764(¶¶177-184)
174
      Order(RE64)PAGEID#1352-1353

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                                RULE 32(g) CERTIFICATE
         The undersigned counsel certified that PLAINTIFF-APPELLANT’S

OPENING BRIEF uses a proportionally spaced Times New Roman typeface,

14-point, and that the text of the brief comprises 12,930 words according to the word

count provided by Microsoft Word 2016 word processing software.

                                                     s/Steven F. Hubachek
                                                   STEVEN F. HUBACHEK




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                                 DECLARATION OF SERVICE

         I, the undersigned, declare:

         1.         That declarant is and was, at all times herein mentioned, a citizen of the

United States and employed in the City and County of San Diego, over the age of

18 years, and not a party to or interested party in the within action; that declarant’s

business address is 655 West Broadway, Suite 1900, San Diego, California 92101.

         2.         I hereby certify that on July 12, 2023, I electronically filed the

foregoing document: PLAINTIFF-APPELLANT’S OPENING BRIEF with the

Clerk of the Court for the United States Court of Appeals for the Sixth Circuit by

using the appellate CM/ECF system.

         3.         I certify that all participants in the case are registered CM/ECF users

and that service will be accomplished by the appellate CM/ECF system.

         I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 12, 2023, at San Diego, California.


                                                          s/Steven F. Hubachek
                                                        STEVEN F. HUBACHEK




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                                       ADDENDUM

                    PLAINTIFF-APPELLANT’S DESIGNATION OF
                    RELEVANT DISTRICT COURT DOCUMENTS

      Plaintiff-Appellant hereby designates the following district court documents
pursuant to 6 Cir. R. 30(g).

   RECORD                             DESCRIPTION                         PAGE ID
    ENTRY                                                                 NUMBER
                                                                           RANGE
        RE1          Complaint for Violations of the Federal Securities    PageID#
                     Laws, filed March 19, 2021.                             1-34
       RE31          Amended Complaint for Violations of the Federal       PageID#
                     Securities Laws, filed November 19, 2021.             723-789
       RE57          Defendants’ Motion to Dismiss the Amended             PageID#
                     Complaint, filed May 20, 2022.                        891-1185
       RE58          Plaintiff’s Opposition to Defendants’ Motion to       PageID#
                     Dismiss the Amended Complaint, filed July 1,         1186-1250
                     2022.
       RE60          Defendants’ Reply Memorandum of Law in                PageID#
                     Support of Their Motion to Dismiss the Amended       1252-1299
                     Complaint, filed August 1, 2022.
       RE64          Opinion and Order, filed March 31, 2023.              PageID#
                                                                          1305-1353
       RE65          Judgment in a Civil Case, filed March 31, 2023.       PageID#
                                                                            1354
       RE66          Notice of Appeal, filed April 28, 2023.               PageID#
                                                                          1355-1356




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